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                       Exhibit C

              Cash Management Schematic




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Bank Account Structure                                                                                                                              FCI Commercial
Amerifirst Financial, Inc. & Phoenix 1040, LLC                                                                                                         Servicing                    Alliance Servicing
                                                                                                                                                                                          *7714

BMO Harris *8588

                                                                                      Chase Operating
   Wells Fargo                                                                            *4191
 Checking *4352                                                                                                                                         Alliance Operating
                                                                                                                                                              *4484                            Alliance GNMA
                                    Chase Payroll                                                                                                                                                 P&I *2288
                                       *6620                                                                                         Veritex DACA
                                                                                                                                        *5415
                                      Chase MIP                                                                                                               Alliance Portfolio
                                        *4209                                                                                                                     P&I *1398
   First ACH                                                                                                                          Veritex WH
Payments interim                                                                                                                    Checking *9327
   servicing                            Chase                                                      Centier Operating
                                       Servicing                                                                                                                                            Alliance FNMA P&I
                                                                                                        *7532                                                                                      *4271
                                        *7122

                                       Chase Trust                                                         Centier
                                       Appraisals                                                       Disbursement                                                                       Alliance FNMA T&I
                                                                                 Chase Savings
                                         *4217                                                              *8813                                                                                 *0270
                                                                                    *3952


     Captive Insurance ‐                               Chase                                                                                                                                Alliance Portfolio
    Malaby Insurance, Inc.                                                                 Chase Savings                                                                                        T&I *7385
                                                      Checking                                                                  ServiceMac Servicer
                                                       *9687                                  *9872
                                                                                                                                                                                             Alliance GNMA
                                                                                                                                                                                                T&I *2949
Note:                                                                                                      Phoenix 1040, LLC
FHLM – Federal Home Loan Mortgage Corporation (Freddie Mac)
FNMA – Federal National Mortgage Association (Fannie Mae)                                                       Citizens Bank                                                      Alliance FHLMC
GNMA – Government National Mortgage Association                                                                                                       Alliance FHLMC
MIP – Mortgage Insurance Premium
                                                                                                                  Operating                                                           T&I *8051
                                                                                                                                                         P&I *4044
ServiceMac Servicer – Company servicing mortgages for commercial & retail                                           x4721
FCI Commerical Servicing ‐ Company servicing mortgages for commercial & retail
